                             UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  NORTHERN DIVISION
                                        File No.:

                                   CIVIL ACTION COMPLAINT

Karen Cahoon, as Executrix of the Estate of Grace H.
Webster, Deceased,
                                                             : JURY TRIAL DEMANDED
                             Plaintiff,

                            VS.


Edward Orton Jr. Ceramic Foundation;
Metropolitan Life Insurance Company;
Union Carbide Corporation;

                             Defendants.




                                  CIVIL ACTION COMPLAINT


         Plaintiff, Karen Cahoon, as Executrix of the Estate of Grace H. Webster, Deceased, sues

  the above-named Defendants for compensatory and punitive damages and alleges upon

  information and belief:

         1.      This action is brought pursuant to the Wrongful Death Act, N.C. Gen. Stat. 28A-

  18-2 et seq., for the wrongful death of the Decedent, Grace H. Webster, ("Decedent") on behalf of

  all persons entitled to recover damages.

         2.      The Decedent died on July 8, 2016 in Pasquotank County, North Carolina. The

  cause of death listed on the death certificate was myocardial infraction. The Decedent had been

  diagnosed with Mesothelioma on or about March 16, 2016.


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                                            PARTIES

        3.      Plaintiff, Karen W. Cahoon ("Plaintiff"), is the daughter of the Decedent and is the

Personal Representative of the Estate of Grace H. Webster, deceased, and is a citizen of the State

of North Carolina. Plaintiff Karen W. Cahoon was appointed Executor of the Estate of Grace

Webster, by the General Court of Justice, Superior Court Division, Pasquotank County, North

Carolina on or about December 7, 2017. Plaintiff maintains this action for monetary damages as

a result of decedent Grace H. Webster contracting an asbestos related disease.

        4.      Decedent's exposure to asbestos and/or asbestos-containing products occurred

during her work as a ceramics teacher and a self-employed potter/ceramist.

       5.      At all times pertinent hereto, the Defendants acted through their duly authorized

agents, servants and employees, who were then and there acting in the course and scope of their

employment and in furtherance of business of said Defendants.

       6.      At all material times, the Defendants manufactured, distributed, sold, supplied,

and/or otherwise placed into the stream of commerce asbestos and/or asbestos-containing

products, materials, or equipment either directly or indirectly so that these materials were caused

to be used at the Decedent's job sites.

       7.      At all material times, the Defendant, Metropolitan Life Insurance Company,

conspired with other Defendants to disseminate false and misleading medical and/or scientific

information regarding the safety of asbestos and demonstrated a clear disregard for the health,

safety and welfare of individuals such as Decedent.




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                                 JURISDICTION AND VENUE

       8.      This Court has personal jurisdiction over the Defendants because the Defendants are

duly licensed to do business in the State of North Carolina and/or at all material times are or have

been engaged in business in the State of North Carolina.

       9.      Pursuant to 28 U.S.C.A. §1391 (2), venue is proper in this judicial district because

Plaintiff resides in Pasquotank County, North Carolina and a substantial part of the events or

omissions occurred in North Carolina.

       10.     Further, this Court has jurisdiction over the parties pursuant to 28 U.S.C.A. §1332

because the Plaintiff is a citizen of the State of North Carolina and none of the Defendants are

citizens of the State of North Carolina. The amount in controversy exceeds Seventy Five Thousand

Dollars ($75,000.00), exclusive of interest and costs.

       11.     Plaintiff has satisfied all conditions precedent to the filing of this action.

       12.     All of the named Defendants listed on the caption and on the attached list, which is

incorporated by reference herein, are foreign corporations who are amenable to jurisdiction in the

courts of North Carolina by virtue of their respective conduct of substantial and/or systematic

business in North Carolina which subjects them to the jurisdiction of the North Carolina courts

pursuant to the North Carolina Long-Arm Statute. Each Defendant corporation does or in the past

mined, manufactured, processed, imported, converted, compounded, supplied, installed, replaced,

repaired, used, and/or retailed substantial amounts of asbestos and/or asbestos-containing

products, materials, or equipment, which are or in the past were sold, distributed, and used in North

Carolina or conspired with other Defendants.

               Defendant EDWARD ORTON JR. CERAMIC FOUNDATION is
               located in the State of Ohio with a service address of 6991 S Old 3C
               Hwy, Westerville, OH 43082.



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                  Defendant METROPOLITAN LIFE INSURANCE COMPANY
                  was and is a company incorporated under the laws of the State of
                  New York with a service address of The Corporation Trust
                  Company, Corporation Trust Center, 1209 Orange Street,
                  Wilmington, DE 19801.

                  Defendant UNION CARBIDE CORPORATION was and is a
                  company incorporated under the laws of the State of New York with
                  a service address of CT Corporation System, 160 Mine Lake Ct Ste.
                  200, Raleigh, NC 27615-6417.

The Decedent was exposed to various asbestos-containing products while working in North

Carolina.


                                  FIRST CAUSE OF ACTION
                                        NEGLIGENCE
          (Against all named Defendants except Metropolitan Life Insurance Company.)


          13.     Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

herein.

          14.     At all material times, Defendants are or were miners, manufacturers, distributors,

processors, importers, converters, compounders, and/or retailers of asbestos and/or asbestos-

containing products, materials or equipment.

          15.     The Defendants, acting through their agents, servants, and/or employees caused,

and have caused in the past, certain asbestos and asbestos-containing materials, products or

equipment to be placed in the stream of interstate commerce with the result of that said asbestos

and asbestos-containing materials, products or equipment came into use by the Decedent.

          16.     Throughout the course of her employment, Decedent worked with and was exposed

to the asbestos and asbestos-containing materials, products or equipment mined, manufactured,

processed, imported, converted, compounded, and/or sold by the Defendants, most of the exposure

being within the State of North Carolina.

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       17.      During the course and scope of her employment, Decedent was exposed to

Defendants' asbestos and asbestos-containing materials, products or equipment, which exposure

directly and proximately caused her to develop an illness known and designated as Mesothelioma.

       18.     Defendants, acting by and through their servants, agents and employees, duly

authorized and acting within the scope and authority of their employment, had a duty to design,

manufacture and sell products that were not unreasonably dangerous or defective and/or a duty to

warn the Decedent and foreseeable users of said products of the dangers and defects which the

Defendants created, knew, or, within the exercise of reasonable care, should have known.

       19.     Decedent, whose livelihood was dependent upon the work that she did was required

to work with and around asbestos and/or asbestos-containing products, materials or equipment that

manufactured, processed, distributed, supplied and/or sold by Defendants. Defendants knew or

should have known that persons such as Decedent would be required to and would come into

contact with and would work in close proximity to said products.

       20.     Decedent sustained injuries caused by no fault of her own and which could not be

avoided through the use of reasonable care. Decedent's development of an asbestos-related

disease was directly and proximately caused by the negligence and carelessness of Defendants in

that they manufactured, processed, sold, supplied or otherwise put said asbestos or asbestos-

containing products, materials or equipment, into the market and into the stream of interstate

commerce, while they knew, or in the exercise of ordinary care should have known, that said

products were deleterious, poisonous, cancer-causing and/or inherently dangerous and harmful to

Decedent's body, lungs, respiratory system, skin, health, and general well-being. Further,

Defendants knew or in the exercise of reasonable care should have known that Decedent would

not know of such danger to her health.



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       21.      Decedent's illness, disability and/or death are the direct and proximate result of the

negligence and carelessness of Defendants, jointly and severally, in that, even though the

Defendants knew, or in the exercise of ordinary care should have known, that the asbestos and

asbestos-containing materials, products or equipment were deleterious, poisonous, and highly

harmful to Decedent's body, lungs, respiratory system, skin, and health.

       22.     Defendants breached their duties and were negligent in the following acts and/or

omissions:

        (a)    Failed to advise Decedent of the dangerous characteristics of their asbestos and/or
               asbestos-containing materials, products or equipment;

        (b) Failed or omitted to provide the Decedent with the knowledge as to what would be
              reasonably safe and sufficient apparel and protective equipment and appliances to
              reduce exposure to inhalable asbestos fibers, if in truth they were in any way able
              to protect him from being poisoned and disabled as he was by exposure to such
              deleterious and harmful asbestos-containing materials, products or equipment;

        (c)    Failed and omitted to place any warnings or sufficient warnings on their containers
               of said asbestos and asbestos-containing materials, products or equipment to warn
               the handlers of the dangers to health in coming in contact with said asbestos and
               asbestos-containing materials, products or equipment;
        (d)    Failed and omitted to take reasonable precautions or to exercise reasonable care to
               publish, adopt, and enforce a safety plan and a safe method of handling and
               installing said asbestos-containing materials, products or equipment;
        (e)    Inadequately warned, if, in fact, they warned at all, persons such as Decedent of the
               dangers to their health in coming in contact with and breathing said asbestos fibers
               from asbestos and/or asbestos-containing materials, products or equipment;

        (0 Did not recommend methods to improve the work environment;
        (g)     Did not develop alternative products;

        (h)     Continued to use a known cancer-causing product, to-wit: asbestos; and
        (i)    After discovering that the asbestos exposure caused a progressive lung disease, the
               Defendants did not inform the Decedent of the need for monitoring and periodic
               evaluations up to and including the filing of this complaint.

       23.     Defendants, at the time of designing, manufacturing, distributing, selling, or

otherwise placing asbestos and/or asbestos-containing products, materials or equipment into the


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stream of commerce, knew, or in the exercise of reasonable care, should have known about the

risks associated with their products. The products in question were defective at the time they left

the control of the Defendants.

          24.     Defendants were negligent and breached their duty of due care to Decedent by

taking or failing to take the actions as previously alleged to avoid harm to the Decedent and other

foreseeable users, in light of the reasonably foreseeable dangers caused by the design,

manufacture, sale, distribution of the asbestos and/or asbestos-containing products, materials or

equipment at issue in the stream of commerce.

          25.     The hazards posed by exposure to asbestos and/or asbestos-containing products,

materials or equipment and the resulting injuries and damages to Decedent were reasonably

foreseeable, or should have been reasonably foreseen by Defendants.

          26.     As a direct and proximate result of the aforesaid negligent acts and/or omissions by

the Defendants, the Decedent developed Mesothelioma, as a consequence of which, through no

fault of his own, he was severely injured, disabled and damaged.

          27.     As a result of the above, Plaintiff seeks damages as are hereinafter demanded.


                                SECOND CAUSE OF ACTION
                             BREACH OF IMPLIED WARRANTY
          (Against all named Defendants except Metropolitan Life Insurance Company)

          28.     Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

herein.

          29.     The Defendants impliedly warranted that said asbestos materials were of good and

merchantable quality and fit for their intended use.

          30.     The implied warranty made by the Defendants that the asbestos and asbestos-

containing materials, products, or equipment were of good and merchantable quality and for the

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particular intended use was breached and that certain harmful, poisonous, and deleterious matter

was given off into the atmosphere wherein the Decedent carried out her duties while working with

or in the vicinity of asbestos and asbestos-containing materials, products, or equipment.

          31.     As a direct and proximate result of the implied warranty of good and merchantable

quality and fitness for the particular intended use, Decedent developed an illness, to-wit:

Mesothelioma.

          32.     As a result of the above, Plaintiff seeks damages as are hereinafter demanded.



                                THIRD CAUSE OF ACTION
                           WILLFUL AND WANTON CONDUCT
            (Against all named Defendants except Metropolitan Life Insurance Company)


          33.     Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

herein.

          34.     Decedent and others in her position worked in close proximity to the asbestos and

asbestos-related materials used or manufactured by the Defendants, and the exposure and hazard

to each of them, in Decedent's presence, as well as others in her position, was known, or in the

exercise of reasonable care should have been anticipated, by the Defendants, and each of them.

          35.     The Defendants have known or should have known since at least 1929 of medical

and scientific data which clearly indicates that the products, asbestos and asbestos-containing

products, were hazardous to the health and safety of the Decedent and others in the Decedent's

position, and prompted by pecuniary motives, the Defendants, individually and collectively,

ignored and failed to act upon said medical and scientific data and conspired to deprive the public,

and particularly the users, of said medical and scientific data, depriving them, therefore, of the

opportunity of free choice as to whether or not to expose themselves to the asbestos products of

said Defendants. As a result, the Decedent was severely damaged as is set forth below.



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        36.      The Defendants intentionally and fraudulently continued to conceal the dangers of

asbestos exposure from 1929 through 1970's, thus denying Decedent the knowledge with which

to take necessary safety precautions such as periodic x-rays and medical examinations, stop

smoking, and avoiding further dust exposure. Specifically, Defendants' intentional and fraudulent

conduct included the following acts and omissions:

       (a)      failure to warn prior users when the Defendants had knowledge of the need for
                monitoring due to prior exposure;

       (b)      failure to issue recall type letters to prior users;

       (c)      frustrating the publication of articles and literature from the 1930's through at least
                1976;

       (d)      rejection by top management of advice of corporate officials to warn of the hazards
                of their asbestos products; such rejection being motivated by the possibility of
                adverse effects on profits; and

       (e)      The intentional inadequacy of (and delay in the use of) the warnings on asbestos
                products.

       37.      The acts of the Defendants, and each of them, as hereinabove set forth were

intentional, willful and wanton, done with willful disregard of the safety of Decedent and others

similarly situated at a time when Defendants, and each of them, had knowledge, or should have

had knowledge of the dangerous effect of asbestos and asbestos-containing materials, products or

equipment upon the body of human beings, including Decedent and others similarly situated, and

even though forewarned by tests, standards, promulgations of rules and regulations, statutes, and

ordinances recognized by the Defendants and subscribed to by them, nevertheless placed into the

stream of commerce, for their own profit, this dangerous asbestos material with full knowledge

that it was being used and would be used in the future to the detriment of the health of Decedent

and others similarly situated, and Plaintiff is thereby entitled to punitive damages.

       38. Accordingly, as a result of the Defendants' conduct which was conducted willfully,

wantonly and with malice, and was grossly negligent and in total disregard for the health and safety

of the user or consumer, such as Decedent, Plaintiff therefore seeks exemplary and punitive
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damages against Defendants to punish the Defendants for their actions, which were willful,

wanton, gross, with malice, and in total disregard of the health and safety of the users and

consumers of their products.


                                FOURTH CAUSE OF ACTION
                                    FAILURE TO WARN
          (Against all named Defendants except Metropolitan Life Insurance Company)

          39.      Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

herein.

          40.      At all times material hereto, the Defendants knew or should have known of the

harmful effects and/or harmful dangers of working with asbestos and/or asbestos-containing

products, materials, or equipment and that of exposures to inhalable asbestos.

          41.      Defendants had a duty to warn individuals working at the Decedent's jobsites,

including but not limited to Decedent, of the dangers associated with the use and/or inhalation of

asbestos dust and fibers.

          42.      Despite Defendants' knowledge of the harm and/or potential harm associated with

the use and/or inhalation of dust and fibers from asbestos and/or asbestos-containing products,

materials, or equipment, the Defendants failed to warn and/or inadequately warned Decedent of

the dangers, including but not limited to:

          (a)      Failing to provide adequate cautions, warnings, and/or hazard statements and/or
                   explanations with their products which should have been designed to provide to the
                   Decedent knowledge about the hazards caused by exposure to their products and
                   how to eliminate such hazards;

          (b)      Failing to provide adequate product inserts, informative brochures, employee
                   training literature, posters, and/or other written materials with their products which
                   should have been designed to provide to the Decedent knowledge about the hazards
                   caused by exposure to their products and how to eliminate such hazards;




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       (c)      Failing to conduct on-site personnel training sessions with exposed workers which
                should have been designed to provide to the workers knowledge about the hazards
                caused by exposure to the products, and how to eliminate the hazards;

       (d)      Failing to adequately test and research their products as to the hazards created
                during their use and failed thereafter to provide the results of such tests and research
                to exposed workers such as Decedent;

       (e)      Failing to inspect the workplace in which their products were being used to
                determine whether the products being used were deleterious to the health of
                exposed workers;

       (f)      Failing to design, process and transport their products in a manner intended to
                minimize exposure during normal working conditions;

       (g)      Failing to specify and market their products on the express agreement that
                necessary engineering controls, work practices, and other industrial hygiene
                controls would be implemented in conjunction with use of the products after it was
                known or should have been known that adequate protective measures were not
                being implemented;

       (h)      Failing to recall their defective product or manufacture a reasonably safer
                alternative;

       (i)      Failing to take adequate precautions and industrial hygiene measures to protect
                Decedent and exposed workers when installing, repairing, or tearing out asbestos
                and/or asbestos-containing products, materials, or equipment including, but not
                limited to, providing protection from dust and fibers emanating from the
                installation, repair, and/or removal process; failing to use local ventilation; failing
                to provide warnings to Decedent and workers in the facilities at issue that exposure
                to dust and fibers from asbestos and/or asbestos-containing products, materials, or
                equipment was hazardous and carcinogenic; failing to adequately clean up debris
                from the installation, repair and/or removal process; failing to use wet down
                procedures; and/or failing to take other appropriate safety and industrial hygiene
                measures;

       (j)      Otherwise failing to act reasonably under the totality of the circumstances.

       43.      Defendants manufactured, processed and/or sold asbestos and/or asbestos-

containing products, materials, or equipment to Decedent and/or Decedent's employers, and these

products were used by Decedent. Thus, Defendants had a duty to warn individuals including but

not limited to the Decedent, of the dangers associated with the use and/or inhalation of dust and

fibers from asbestos and/or asbestos-containing products, materials, or equipment.


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       44.      Despite Defendants' knowledge of the harm and/or potential harm associated with

the use and/or inhalation of dust and fibers from asbestos and/or asbestos-containing products,

materials, or equipment, the Defendants acted unreasonably in failing to provide adequate

warnings and/or instructions as to the hazards associated with exposure to asbestos and/or

asbestos-containing products, materials, or equipment.

       45.      At the time the asbestos and/or asbestos-containing products, materials, or

equipment left Defendants' control without adequate warning or instruction, Defendants created

an unreasonably dangerous condition that they knew or should have known would pose a

substantial risk of harm to a reasonably foreseeable claimant, such as the Decedent. In the

alternative, after the asbestos-containing products left Defendants' control, Defendants became

aware of or in the exercise of ordinary care should have known that their products posed a

substantial risk of harm to a reasonably foreseeable user, such as the Decedent, and failed to take

reasonable steps to give adequate warning or instruction or to take any other reasonable action

under the circumstances.

       46.      Defendants' failure to provide adequate warnings as to the hazards associated with

exposure to asbestos and/or asbestos-containing products, materials, or equipment or to provide

proper instructions on the use, handling, and storage of asbestos and/or asbestos-containing

products, materials, or equipment caused Decedent to develop Mesothelioma as a consequence of

which she was injured and damaged and Plaintiff claims damages of the Defendants jointly and

severally.

       47.      As a result of the Defendants' failure to warn, the Decedent suffered the injuries

death and/or damages hereinafter alleged.




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                                   FIFTH CAUSE OF ACTION
                           CONSPIRACY AND PUNITIVE DAMAGES
                         Against Metropolitan Life Insurance Company Only

       48.     Defendant METROPOLITAN LIFE INSURANCE COMPANY rendered

substantial aid and assistance to the manufacturers of asbestos-containing products to which

Decedent was exposed, and such assistance by Metropolitan Life aided and abetted the negligence

and the marketing of unreasonably dangerous asbestos-containing products by such manufacturers

which proximately caused Decedent's illness, injuries, disabilities and death.

       49.     In both conducting tests and in publishing their alleged results, METROPOLITAN

LIFE failed to exercise reasonable care to conduct or publish complete, adequate and accurate tests

of the health effects of asbestos. METROPOLITAN LIFE also caused to be published intentionally

false, misleading, inaccurate and deceptive information about the health effects of asbestos

exposure.

       50.     Decedent unwittingly but justifiably relied upon the thoroughness of

METROPOLITAN LIFE's tests and information dissemination, the results of which Metropolitan

Life published in leading medical journals.

       51.     As a direct and proximate contributing result of METROPOLITAN LIFE's failures

to conduct or accurately publish adequate tests or disseminate accurate and truthful information,

after undertaking to do so; (i) the risk of harm to Decedent from asbestos exposure was increased,

and (ii) Decedent suffered the injuries previously described.

       52.     In failing to test fully and adequately for the adverse health effects from exposure

to asbestos; in delaying the publication of such results; and in falsely editing such results as were

obtained; in suppressing relevant medical inquiry and knowledge about those hazards to promote

the sale and distribution of asbestos as a harmless product; and in collaborating with the other

Defendants materially to understate the hazards of asbestos exposure, all for their own profit and
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gain, METROPOLITAN LIFE acted willfully, wantonly, and with malice in calculated disregard

for the welfare of the general public, including Decedent. Plaintiff seeks compensatory and punitive

damages against METROPOLITAN LIFE as a result.



                                              DAMAGES

          53.    Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

herein.

          54.    Plaintiff files this action under and pursuant to N.C. Gen. Stat. §§28A-18-1, et. seq.,

and seeks to recover any and all damages allowable and incurred by the Estate of Grace H.

Webster, and all beneficiaries.

          55.    As a result of the above-alleged conduct of the Defendants, the Decedent developed

Mesothelioma, as a consequence of which, she has been damaged as follows:

                 (a)     for hospital and medical expenses incidental to Decedent's last illness;

                 (b)     for loss of earnings and future earning power of the Decedent;

                 (e)     for the loss of Decedent's general health, strength, and vitality.

                 (c)     for the loss of pecuniary contributions to the heirs of the Decedent,

          including Plaintiff;

                 (d)     for the loss of consortium, society, aid, companionship and services to the

          heirs of the Decedent, including Plaintiff;

                 (e)     for the future loss of consortium, society, aid, companionship and services

          to the heirs of the Decedent, including Plaintiff;

                 (f)     for the pain and suffering of the Decedent;

                 (g)     for all other damages recoverable under said Act.



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       WHEREFORE, the Plaintiff verily believes she is entitled to actual damages against the

Defendants, jointly and severally, by reason of said negligence, gross negligence, breach of

warranty, false representation, failure to warn, conspiracy and other breaches of duty and willful,

wanton, fraudulent and malicious conduct as alleged herein proximately caused by the fault of the

Defendants. Plaintiff prays for judgment against all Defendants for actual and punitive damages,

lost wages and special damages in an amount to be determined by the trier of fact, in excess of

$75,000, plus interest as provided by law and the costs of this action.



       PLAINTIFF REQUESTS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

       This 21st day of December, 2017.


                                              /s/ Janet Ward Black
                                              Janet Ward Black
                                              NC State Bar 12869
                                              Attorney for Plaintiff
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